Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 1 of 29 Page ID #:1



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 6

 7

 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   AFRICAN FIREFIGHTERS IN                   Case No.
     BENEVOLENT ASSOCIATION, an
12   unincorporated association, JABARI        COMPLAINT FOR CIVIL RIGHTS
     JUMAANE, an individual,                   VIOLATION AND INJUNCTIVE AND
13                                             DECLARATORY RELIEF:
                     Plaintiffs,
14
             v.                            1.   42 U.S.C. ⸹ 1983 [Free Speech]
15
     MARQUEECE HARRIS-                     2.   42 U.S.C. ⸹ 1983 [Due Process]
16   DAWSON, an individual and in his      3.   42 U.S.C. ⸹ 1985 [Civil Conspiracy]
     capacity as a Los Angeles City        4.   California Constitution, Art. 1, ⸹2
17   Councilmember; THE CITY OF
     LOS ANGELES, a public entity; and     5.   California Constitution, Art. 1, ⸹7
18   DOES 1 through 10, inclusive,
19
                       Defendants.
20
                                               DEMAND FOR JURY TRIAL
21

22

23

24           PLAINTIFFS African Firefighters in Benevolent Association (“AFIBA”) and
25   JABARI JUMAANE (“JUMAANE”) (collectively referred to as “PLAINTIFFS”)
26   alleges as follows:
27

28


     36159957v3

                                     COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 2 of 29 Page ID #:2



 1                                      THE PARTIES
 2           1. PLAINTIFF JUMAANE is and was, at all times mentioned, herein a
 3    resident of the County of Los Angeles in the State of California.
 4           2. PLAINTIFF AFRICAN FIREFIGHTERS IN BENEVOLENT
 5   ASSOCIATION (“AFIBA”), is and was at all times mentioned herein, an
 6   unincorporated non-profit association organized and existing under the laws of the
 7   State of California.
 8           3. DEFENDANT MARQUEECE HARRIS-DAWSON (“COUNCILMAN”)
 9   is and was at all times mentioned herein, an individual elected by the public to
10   serve on the Los Angeles City Council.
11           4. DEFENDANT CITY OF LOS ANGELES (“CITY”) is and was at all
12   times mentioned herein, a municipal entity organized and existing under the laws of
13   the State of California.
14           5. Plaintiff is unaware of the true names and capacities of Defendants sued as
15   DOES 1 through 10, inclusive, and therefore sues those Defendants by such
16   fictitious names. Plaintiff will amend this complaint to allege such true names and
17   capacities as and when they are ascertained. Upon information and belief, each
18   such fictitiously named Defendant is in some way responsible for the events and
19   happenings referred to herein, or claims some right, title or interest in the subject
20   action and that Plaintiffs’ damages as herein alleged were proximately caused by
21   their conduct.
22           6. At all times mentioned herein, Plaintiff is informed and believes and
23   thereon alleges that each and every Defendant, including the fictitiously named
24   Defendants, was the agent, employee, and/or servant of every other defendant, and
25   performed the acts complained of herein in the course and scope of such agency,
26   servitude, and/or employment, and acted with the consent, ratification, permission,
27   knowledge, and/or authorization of each of the remaining defendants. Plaintiff is
28   informed and believes and thereon alleges that at all times relevant hereto, each of
                                               -2-
     36159957v3
                                           COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 3 of 29 Page ID #:3



 1   the Defendants and the fictitiously named Defendants acted in concert and in
 2   furtherance of each other’s interest. In fact, there is a unity of interest and
 3   ownership between and among all Defendants and that any separateness between
 4   them has ceased to exist, such that Defendants, and each of them are the alter ego of
 5   each other. Based on the facts as alleged herein, adherence to the legal fiction of
 6   the existence of all Defendants separate and apart from each other would sanction
 7   their wrongful conduct and promote injustice.
 8

 9                                JURISDICTION AND VENUE
10           7. The Court has personal jurisdiction over all DEFENDANTS, CITY OF
11   LOS ANGELES, COUNCILMAN MARQUEECE HARRIS-DAWSON and DOES
12   1-10 because each is a resident of and/or working and/or doing business in the
13   County of Los Angeles in the State of California and because the County of Los
14   Angeles is where Defendants’ records relevant to the alleged unlawful practices are
15   maintained and administered.
16           8. This action arises under the Constitution and the laws of the United States.
17   Jurisdiction is conferred on this Court pursuant to 28 U.S.C. ⸹⸹1331 and 1343.
18   Plaintiffs’ claims for declaratory relief and injunctive relief are authorized by 28
19   U.S.C. ⸹⸹2201 and 2202, by Rules 57 and 65 of the Federal Rules of Civil
20   Procedure, and by the general legal and equitable powers of this Court. Plaintiffs’
21   claim for damages is authorized by 42 U.S.C. ⸹1983. Plaintiffs’ request for
22   attorney fees is authorized by 42 U.S.C. ⸹1988.
23           9. Venue is proper under 28 U.S.C. ⸹1391(b) because a substantial part of the
24   events or omissions giving rise to Plaintiffs’ claims occurred in this district.
25           10. Plaintiffs further invoke the supplemental jurisdiction of this Court under
26   28 U.S. C. ⸹1367(a) to hear and adjudicate state law claims.
27           11. Plaintiff has satisfied the claims statute by filing a claim with the City of
28   Los Angeles in 2020, which has not been denied as of the filing of this complaint.
                                                -3-
     36159957v3
                                             COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 4 of 29 Page ID #:4



 1

 2                                     INTRODUCTION
 3           12. This case seeks to protect and vindicate fundamental constitutional rights.
 4    It is a civil rights action brought under the First, Fifth and Fourteenth Amendments
 5    to the United States Constitution, 42 U.S. 1983, and the California Constitution
 6    challenging Defendants’ restriction on Plaintiffs’ right to freedom of speech and
 7    right to due process. Based upon false pretenses, Defendants retaliated against
 8    Plaintiffs in an effort to quell their right to freedom of speech through a retaliatory
 9    eviction and unjustified revocation of the prior license held by Plaintiffs for over
10    20 years. Defendants took these actions to prohibit Plaintiffs from objecting to the
11    Councilman’s vision for Destination Crenshaw, based upon the content of
12    Plaintiffs’ speech and the viewpoint of Plaintiffs’ message that was inconsistent
13    with that vision.
14          13. Plaintiffs seek damages, attorney’s fees, a declaration that Defendants
15    violated their clearly-established constitutional rights as set forth in their
16    Complaint, a declaration that Defendants’ restriction on Plaintiffs’ free speech
17    violates the US Constitution and 42 U.S. C. ⸹1983 as set forth in this Complaint; a
18    preliminary injunction and permanent injunction enjoining the enforcement of
19    Defendants’ speech restriction as set forth in this Complaint; and damages for the
20    past loss of Plaintiffs’ constitutional rights. Plaintiffs also seek an award of
21    reasonable costs of litigation, including attorney’s fees and expenses, pursuant to
22    U.S.C. § 1988 and other applicable laws.
23          14. Over the past 3 years Plaintiffs have been substantially harmed by the
24    conduct of Los Angeles City Councilman Marqueece Harris-Dawson
25    (“Councilman”). For the past two (2) years, the Councilman has engaged in
26    abusive, inappropriate, and vindictive conduct directed at Plaintiffs, and the CITY
27    has not only condoned his actions; it has been complicit in them. The actions are
28    fueled by a personal animus toward Jabari Jumaane, the President of AFIBA. The
                                                -4-
     36159957v3
                                            COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 5 of 29 Page ID #:5



 1    disdain the Councilman has towards Jabari Jumaane has caused him to become
 2    outrageous and irrational. Councilman Harris-Dawson has made emotional
 3    decisions that have stripped the Crenshaw community of a vital, historical, and
 4    much needed, heavily utilized community center by revoking AFIBA’s license to
 5    operate out of Firehouse 54 located at 5730-5732 Crenshaw Blvd. The City and
 6    Councilman caused the illegal eviction of AFIBA, which began with revoking the
 7    License held by AFIBA. This action adversely affected a segment of the Hyde
 8    Park community which relies on the programming and support they receive from
 9    the AFIBA Center under the direction of Jabari Jumaane.
10           15. The Councilman vindictively had the doors to the AFIBA Center locked
11    and chained, thereby depriving the ENTIRE Crenshaw/Hyde Park community
12    of this iconic Center, which is a bedrock of the African American Community.
13           16. Councilman Harris-Dawson has embarked on a deliberate and contrived
14    smear campaign against Jabari Jumaane and the AFIBA Center to intentionally
15    defame, discredit, and bring calculable harm to their names and reputations.
16           17. The Councilman has personally utilized a combination of intentional
17    misrepresentations, falsehoods and disseminating misinformation about Jabari
18    Jumaane and the AFIBA Center to accomplish his goal of removing Jabari
19    Jumaane from the building that is the home of the AFIBA Center.
20           18. On or about September 12, 2019, Los Angeles Wave Newspaper
21    contributing writer Najee Ali wrote a column that appeared in Los Angeles Wave
22    Newspaper (“The Wave”). (A true and correct copy of the Wave Article is
23    attached hereto as Exhibit A.) In the article, Mr. Ali recounts an interview with
24    the Councilman wherein he reports that “[the Councilman] told the truth of what
25    exactly was going on….” Clearly, Mr. Ali did not engage in any fact checking nor
26    did he bother to pursue “two sides to [this] story” as he stated he was “taught to
27    do” or he would have discovered that the Councilman’s “truth” was objectively at
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                                              -5-
     36159957v3
                                           COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 6 of 29 Page ID #:6



 1    odds with reality. The Councilman’s interview is riddled with deceit, slanted
 2    disclosures, and outright misrepresentations as follows:
 3
             (a) The Councilman stated that he “has worked tirelessly with representative
 4
                 of the [AFIBA] to extend an agreement with the City Los Angeles to use a
 5               City-owned building on Crenshaw Blvd.”
 6
                  This statement is false. Councilman has not worked with representatives
 7
                  of AFIBA to extend the Agreement. As of the date of the column, there
 8                had been only ONE meeting with the President of AFIBA. As of this
                  date, all requests for a meeting from AFIBA with the Councilman were
 9
                  ignored or re-directed. As previously stated, prior to the Notice of
10                Revocation, neither AFIBA or Jumaane ever received any written notice
11
                  regarding complaints from citizens or lack of compliance with the License
                  from the CITY or the Councilman. The Revocation Notice indicated that
12                AFIBA should contact the CITY to re-negotiate the License, but when
13
                  Jumaane made the contact as directed in the Notice he was informed by
                  the CITY representative that re-negotiation of the License would not
14                occur. Clearly, Najee Ali did not follow up with the Councilman and
15
                  request any proof of him “working tirelessly…to extend an agreement.”
                  He will not be able to provide any proof because it is completely not true.
16

17
             (b) “Unfortunately, after a year of repeated requests, face-to-face meetings
                 and written communication, AFIBA representatives remain unwilling to
18
                 meet the most basic requirements of using a public facility.”
19

20
                  This is a false statement by the Councilman. There were no repeated
                  requests to Jumaane or AFIBA from the Councilman, there were no
21                written requests to AFIBA or Jumaane from the CITY or the Councilman;
22
                  and there were no face-to-face meetings: only one face-to-face meeting
                  with Jumaane to REQUEST that the Councilman meet with him to
23                resolve the differences between them regarding Destination Crenshaw.
24
             (c) “First and foremost, the building must be available to the residents of our
25               community. That includes neighborhood councils, community
26               organizations and the City of Los Angeles (the owner) itself.”

27                AFIBA Center has been available for any neighborhood council,
28                community organization or the City of Los Angeles upon request. Neither

                                                -6-
     36159957v3
                                             COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 7 of 29 Page ID #:7



 1                AFIBA nor Jumaane have ever received a complaint from the CITY or
 2                any organization that access was denied or unavailable.

 3                “Secondly, the building must be opened and well maintained. Since the
 4                Agreement does not require payment by AFIBA, the expectation outlined
                  in the agreement is that AFIBA would maintain the property, provide
 5                stated programing and services, and carry the necessary insurance
 6                coverage to provide for injury and/or mishaps. Notwithstanding these
                  failures.”
 7

 8                The building is well maintained as evidenced by the inspectors from the
                  CITY. The only evidence the CITY put forth is a single photo of a wall in
 9                need of repair, when in actuality the walls were in the process of being
10                sanded and repaired when the City took the photograph. This evidence
                  was presented in deceit of the true facts. AFIBA provided all the stated
11                programs and more than what was stated with the exception of the
12                Harambee Farmer’s Market, which ceased to operate over 10 years prior.
                  Lastly, prior to the false accusation through today while locked out,
13                AFIBA has consistently maintained insurance coverage.
14
             (d) “I have tried to negotiate a new agreement that would allow AFIBA to
15
                 continue to use the space. The requests for negotiation have been met with
16               silence by AFIBA.”
17                This statement is completely false and bears no truth in reality.
18
             (e) “This week, the City department that manages public assets was refused
19              entry onto the property. That is completely unacceptable and inevitably
20              triggered eviction proceedings.”
21
                  There was no request to enter the property and there was no refusal. The
22
                  Notice of Revocation was served on August 9, 2019 over one month prior
23                to the fabrication of an alleged refusal to allow entry. The Councilman
24                was not truthful about the events as they transpired.
25
             19. At a City Council meeting held on September 18, 2019, Councilman
26
      Harris-Dawson made his personal vendetta against Jabari Jumaane unequivocally
27
      clear. In an attempt to assuage the crowd about the potential loss of the AFIBA
28
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     36159957v3
                                              COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 8 of 29 Page ID #:8



 1    Center, the Councilman intentionally misrepresented that the City’s license was
 2    not with AFIBA, but with Jabari Jumaane, himself. When Jabari Jumaane sought
 3    clarification about that representation, the Councilman clarified that he meant that
 4    his intention was that although the AFIBA Center would stay, Jabari Jumaane
 5    would have to be eliminated.
 6           20. The Councilman was determined to abuse his governmental power to
 7    pursue his personal retribution to silence Jabari Jumaane and attempt to use the
 8    City’s resources to excise Jabari Jumaane from his role as Director of the AFIBA
 9    Center. Councilman Harris-Dawson clearly had no concern that his actions would
10    hurt the very community he swore to serve in his capacity as Councilman for the
11    8th District, in the City of Los Angeles. Apparently, the Councilman believes he
12    has the authority to control who will preside as the main authority of AFIBA and
13    who will operate the AFIBA Center. As far as the Councilman is concerned the
14    AFIBA Center is simply collateral damage to his ultimate goal to rid the
15    community of Jabari Jumaane, by any means necessary. Otherwise, the
16    Councilman is completely unconcerned about the AFIBA Center, and all the
17    services it provides to the 8th District, and the African Americans who reside
18    therein.
19
                  SUMMARY OF FACTS GOVERNING THIS MATTER
20

21
             21. AFIBA is a non-profit unincorporated association. The acronym stands
22
     for African Firefighters in Benevolent Association. It was organized in February
23
     1992. The stated purpose of the organization was to develop policies, programs and
24
     forums that have always at the center of their focus not only the advancement of
25
     African American firefighters on their respective fire departments but a special
26
     concentration on the economic and social challenges that plague the African
27
     American community in general.
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                                              -8-
     36159957v3
                                          COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 9 of 29 Page ID #:9



 1           22. Over the ensuing years, AFIBA’s mission expanded from solely
 2   concerning itself with firefighters to the African American community as a whole.
 3   In furtherance of its purpose, AFIBA obtained a license from the City to occupy
 4   Fire Station 54, located at 5730-5732 Crenshaw Boulevard, Los Angeles,
 5   California. The license was to use Fire Station 54 for the benefit of the local
 6   community in the Crenshaw neighborhood.
 7           23. On April 13, 2001, the City and AFIBA entered into the License
 8   Agreement. AFIBA agreed to provide the following services: (a) holistic health
 9   care seminars; (b) CPR training for community residents; (c) community conflict
10   resolution services; (d) programs promoting African American social and cultural
11   awareness; (e) a farmer’s market for the Harambee Farmer’s Market. The License
12   agreement gave AFIBA the right to use Fire Station 54. It was revocable at the
13   City’s discretion by way of a 30-day notice. The License provided for immediate
14   revocation by the City in the event that AFIBA failed or refused to keep or perform
15   any of the provisions or conditions of this License. (A true and correct copy of the
16   License is attached hereto as Exhibit B.)
17           24. AFIBA and Jumaane moved in to occupy Fire Station 54 and renamed it
18   the AFIBA Center. From 2001 to 2021, the AFIBA Center has fulfilled all of its
19   responsibilities under the License Agreement that were within its power to provide.
20   The only service that was not provided since approximately 2011 was the farmer’s
21   market for the Harambee Farmer’s Market, which was unable to continue due to
22   economic challenges suffered by the participants and a competing Farmer’s Market
23   that refused to adhere to the guidelines set up by the market managers to ensure the
24   market participants enjoyed an equal opportunity to sell their produce.
25           25. Neither AFIBA nor Jumaane received a complaint from the City that the
26
     services that the AFIBA Center was providing were out of compliance with the
27
     terms and conditions of the License. The AFIBA Center was flourishing. In fact,
28
                                              -9-
     36159957v3
                                           COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 10 of 29 Page ID #:10



  1   since the inception of the original license agreement the AFIBA Center had
  2   expanded its programming to include eight additional categories of programs for
  3   the benefit of L.A. residents citywide. (These included Cultural dance, Disaster
  4   preparation, education in diverse spirituality classes, economic workshops,
  5   relationship workshops with the Association of Black Psychologists, Cinema
  6   training for youth and adults, Cinema Screenings/ discussion series, Summer
  7   Acting Camp for Youth and the Summer Playwriters workshop for youth.) The
  8   community was being served with the multiplicity of services and events put on at
  9   the AFIBA Center.
 10           26. In 2008, the construction of the 8.5-mile Crenshaw/LAX light rail line
 11   was announced by Metro. The plan deeply polarized communities along Crenshaw
 12   Boulevard. This and the encroaching gentrification of areas like Leimert Park led to
 13   the formation of “Destination Crenshaw,” a planned 1.3-mile cultural district
 14   spanning Crenshaw Boulevard from 48 to 60th streets.
 15           27. “Destination Crenshaw” (“the Project”) came about as a result of
 16   conversations related to the building of the Crenshaw/LAX Metro line and the
 17   controversy in the community that remains to this day about the portion between
 18   Hyde Park and Leimert Park…” as the Councilman was quoted. Destination
 19   Crenshaw was targeted to be completed in Spring of 2020.
 20           28. The Project was presented as being designed as a catalyst for economic
 21   development. According to the Councilman, the community will directly benefit
 22   from the improvements that are made.
 23           29. The Councilman had a vision for Crenshaw Boulevard that he sought to
 24   impose on the inhabitants there without so much as a conversation with community
 25
      leaders in the various portions of Crenshaw Boulevard and the surrounding areas
 26
      that would be impacted by the Project. What was to become unequivocally clear is
 27
      that the Councilman was intolerant of any potential obstructions or dissent from
 28
                                               - 10 -
      36159957v3
                                            COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 11 of 29 Page ID #:11



  1   executing his vision of Destination Crenshaw and was intent on using his political
  2   might to eliminate the resounding opposing voices to his plan.
  3           30. The Destination Crenshaw project’s impact to the AFIBA Center as
  4   proposed was severe. The Councilman proposed a 12-foot tower to be placed in the
  5   middle of the parking lot of the AFIBA Center, thereby eliminating 13-15 parking
  6   spaces of a 23-space parking lot for the visitors of the AFIBA Center. The
  7   Councilman’s plan was to occupy the remaining area of the parking lot with what
  8   he referred to as a “pocket park.” He further planned to remove the block walls and
  9   wrought-iron fences around the parking lot, which posed a security and hygienic
 10   problem to the operations of the AFIBA Center insofar as keeping the AFIBA
 11   Center free from homeless encampments setting up. The AFIBA Center was
 12   already removing feces, trash, and urine daily from vagrants deposing such around
 13   the building. Because the Councilman never took the time or opportunity to discuss
 14   the impact the Project would have on the AFIBA Center, he was impervious to the
 15   change in the daily regimen of the AFIBA Center or its daily visitors’ access,
 16   enjoyment, and safety.
 17           31. In essence, the Councilman proceeded to impose his vision of Crenshaw
 18   without ever so much as speaking to the members of the community, leaders of
 19   various community organizations, or inhabitants of Crenshaw Boulevard to gain an
 20   understanding on how his vision may not be embraced, appreciated, or warranted.
 21   He failed to seek input from organizations who existed on Crenshaw Boulevard.
 22   The AFIBA Center was a place where many of these complaints were discussed.
 23           32. The adverse impact to the AFIBA Center was never assessed or
 24   discussed.
 25           33. In 2018, President Jabari Jumaane began to publicly raise three core
 26
      issues regarding the impact of The Project on the present residents of Crenshaw
 27
      Boulevard and surrounding areas, i.e., Hyde Park: 1) Define the economic benefit
 28
                                               - 11 -
      36159957v3
                                            COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 12 of 29 Page ID #:12



  1   to the Crenshaw community; 2) Inclusion of the Hyde Park stakeholders in the
  2   decision-making process of Destination Crenshaw and 3) Discussion the adverse
  3   impact on the AFIBA Center on Destination Crenshaw, i.e., the elimination of
  4   parking spaces for visitors and safety issues created by removal of the walls and
  5   fences around AFIBA. (“The Core Issues”)
  6           34. Jumaane raised these concerns along with other concerned community
  7   advocates. He repeatedly requested a meeting with the Councilman. Between Feb.
  8   10, 2018 and May 2019 Jumaane would attempt on at least four different occasions
  9   to get on the Councilman’s calendar through the channel the Councilman directed
 10   him and all efforts were avoided and misdirected.
 11           35. Jumaane was speaking out against the vision of the Councilman, as it
 12   seemed he was determined to ignore and intentionally overlook the concerns of the
 13   inhabitants of Crenshaw Boulevard if those concerns were seen as an impediment
 14   to completing his Project.
 15           36. Throughout 2018 and most of 2019, Jumaane continued to publicly
 16   criticize the Councilman; continued to publicly questions the efficacy of
 17   Destination Crenshaw and raise red flags regarding the Councilman’s lack of
 18   inclusion of the Crenshaw/Hyde Park community in the decision-making process
 19   with regard to the implementation and impact of Destination Crenshaw. The
 20   AFIBA Center loyalists were becoming increasingly anxious and concerned about
 21   the potential adverse impact.
 22           37. AFIBA members joined with other community groups and individuals in
 23   town hall and other meetings questioning the underlying intentions and
 24   consequences of the Councilman’s vision for the Destination Crenshaw project.
 25           38. As their angst increased, Jumaane’s demands to be included and
 26
      criticism of the Councilman’s imperviousness to their needs increased. His public
 27
      outcries to gain an audience with the Councilman were resounding.
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                                              - 12 -
      36159957v3
                                           COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 13 of 29 Page ID #:13



  1           39. After being served with the Notice to Vacate in 2019 through the present,
  2   AFIBA joined with stakeholders in the community in distributing flyers calling for
  3   member of the community to “join in our efforts to fight back against those who
  4   seek to displace, marginalize and price-out lifelong residents of this community.”
  5   At a groundbreaking for Destination Crenshaw on February 29, 2020, Jumaane also
  6   joined with area stakeholders in supporting a recall effort of Councilman Harris-
  7   Dawson for his neglect of the substantive community needs and programs.
  8           40. AFIBA held the license without incident for over 20 years.
  9           41. On March 2, 2019, Jumaane and AFIBA generated a banner that read
 10   “Councilman Marqueece Harris Dawson Please don’t ignore our concerns!” This
 11   banner was placed across the entrance of the parking lot to the AFIBA Center for
 12   the entire Crenshaw Community inhabitants and public transportation drivers and
 13   passengers to observe. That same day AFIBA hosted the rally for community
 14   survival at the AFIBA Center with a cross-section of community stakeholders as
 15   speakers to address their collective concerns with Destination Crenshaw,
 16   gentrification and the lack of community support by elected officials.
 17           42. In or about April 2019, Jumaane, a representative from the Hyde Park
 18   community, a representative from the Park Mesa Heights community, and other
 19   individuals met with the Councilman’s advisor to express their concerns with the
 20   Destination Crenshaw Project. This advisor appeared very irritated at the
 21   expression of these concerns. On information and belief, after the Councilman was
 22   advised of the heightened opposition, he then contacted the City of Los Angeles
 23   Real Estate Services to start researching if there were any grounds to evict the
 24   AFIBA Center on his belief that the AFIBA Center and Jumaane posed a threat to
 25   the Councilman’s vision of the Destination Crenshaw Project.
 26
              43. On August 9, 2019, the Councilman via the City in retaliation for
 27
      Jumaane’s speaking out negatively against the Councilman’s vision issued a Notice
 28
                                               - 13 -
      36159957v3
                                            COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 14 of 29 Page ID #:14



  1   of Revocation of AFIBA’s license to occupy Fire Station 54 located at 5730-5732
  2   Crenshaw Boulevard. (A true and correct copy of the Notice of Revocation is
  3   attached hereto as Exhibit C.)
  4           44. On August 17, 2019, AFIBA Center sponsored the first annual black
  5   consciousness caravan.
  6           45. Jumaane espoused that the Councilman’s obsession with bringing
  7   Destination Crenshaw to fruition without first developing programs to firmly root
  8   residents and stakeholders into residential and commercial properties of the 8th
  9   district would essentially expedite the gentrification in this district instead of
 10   promote economic development for the advancement of the African American
 11   community that inhabits the Crenshaw Blvd./Hyde Park area. accused the
 12   Councilman of promoting gentrification and colonizing developers as opposed to
 13   promoting economic development for the advancement of the African American
 14   community that inhabits Crenshaw boulevard.
 15           46. Angered by Jumaane’s public speaking out against his vision to revitalize
 16   Crenshaw Boulevard, the Councilman generated a plan to silence and eliminate
 17   Jumaane’s public speaking out and neutralize his message. The Councilman would
 18   accomplish this by abusing his governmental power and revoking the license to the
 19   AFIBA Center thereby removing AFIBA and Jumaane and punishing him for
 20   exercising his right to free speech that was not in favor of the Councilman’s vision
 21   for Crenshaw Boulevard.
 22           47. After hanging the banner, holding the rally, and sponsoring the first
 23   annual black consciousness caravan, the AFIBA Center was served with a Notice to
 24   Vacate Premises, which Plaintiffs are informed and believe was at the direction of
 25   the Councilman.
 26
              48. AFIBA had never received any complaints about its services or the
 27
      operations of the AFIBA before the Revocation Notice was served on the AFIBA
 28
                                                - 14 -
      36159957v3
                                             COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 15 of 29 Page ID #:15



  1   Center.
  2           49. In the body of the Revocation Notice, the City stated “If you are
  3   interested in negotiating a new license agreement for the Premises please contact
  4   Senior Real Estate Officer Paul Burke of the City’s General services Division by
  5   telephone xxx or by email:xxx”
  6           50. Jumaane immediately contacted Paul Burke in compliance with the offer
  7   of the Notice of Revocation to express his interest in “negotiating a new license
  8   agreement for the Premises…” He was informed that the option was not available
  9   to him or the AFIBA Center.
 10           51. AFIBA and Jumaane sounded the alarm and immediately warned the
 11   public of the City and the Councilman’s action. A call to action was made to stop
 12   the Councilman from abusing his power. Jumaane repeatedly attempted to meet
 13   with the Councilman, and all requests were ignored and denied. After a year of
 14   failed attempts to schedule a meeting with the Councilman utilizing the modes of
 15   communication he instructed, it became clear that the Councilman had no intention
 16   of meeting with Jumaane and was deliberately avoiding meeting with the members
 17   of the AFIBA Center.
 18           52. Although the City had the authority under the License to revoke without
 19   cause, the City moved under the provision indicating Immediate Revocation for
 20   cause section 8 stating that “the Licensee may be immediately revoked by CITY in
 21   the event of any failure or refusal on the part of the LICENSEE to keep or perform
 22   any of the provisions or conditions of this License. Notice of revocation may be
 23   given by CITY in the manner provided in Section 7 above.”
 24           53. In the eviction proceedings, the CITY represented the following basis for
 25   the Notice of Revocation.
 26
              (a) According to the City, it claims that “[i]n the summer of 2019, the CITY
 27
                   learned of concerns about the existing service levels of [AFIBA].”
 28
                                                - 15 -
      36159957v3
                                              COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 16 of 29 Page ID #:16



  1           (b) Allegedly the Councilman received some complaints from local residents
  2                about restrictions on the use of the [AFIBA Center].”
  3           (c) The CITY further claimed that AFIBA’s FACEBOOK page was
  4                significantly out of date in terms of advertising about upcoming events. “
  5           (d) “In addition, one of the community services to be provided by AFIBA
  6                under the terms of the Agreement, a Farmer’s Market, had also ceased
  7                operating at the [AFIBA Center] had also ceased operating…”
  8           (e) General Services Department reported some property management issues:
  9                      (1) In the early summer of 2019, allegedly several staff members
 10                         requested a copy of the key to the main gate of AFIBA but was
 11                         denied a copy of the key by Jumaane but allowed inside the
 12                         premises.
 13                      (2) Staff members “… noted that that one of the bathrooms inside the
 14                         AFIBA Center had paint damage that had not been addressed
 15                         although repairs and maintenance had been AFIBA’s responsibility
 16                         under the license agreement;”
 17                      (3) There were community complaints that the AFIBA Center “was not
 18                         being utilized as well as it could for the benefit of the community.”
 19                      (4) “AFIBA was invited to negotiations over a new license
 20                         agreement…”
 21                      (5) The City was concerned that AFIBA was not maintaining insurance
 22                         coverage.
 23                      (6) AFIBA was an unincorporated association, but the City requires
 24                         prospective licensee to be incorporated as a non-profit corporation.
 25                54.     The City generated this laundry list of pretexts for pursuing the
 26
      eviction of the AFIBA Center and were instructed by the Councilman to use the list
 27

 28   to evict AFIBA.
                                                    - 16 -
      36159957v3
                                                 COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 17 of 29 Page ID #:17



  1                55. What is noteworthy is that NOT ONE of the issues raised in paragraph
  2
      53 were ever raised to AFIBA PRIOR to the City and the Councilman issuing the
  3

  4   Notice of Revocation.

  5                56. More importantly, Not ONE of the issues is a basis for revocation for
  6
      cause as none of them are accurate or reflect the entire circumstance. For instance,
  7

  8   the Farmer’s Market had ceased to operate 10 years before as a result of the

  9   previous Councilmembers actions which made it impossible for vendors to prosper
 10
      at the Harambee Farmer’s Market.
 11

 12                57. There were no concerns raised to AFIBA from the City or from the
 13   community regarding existing service levels. The service levels were excellent,
 14
      which the Councilman would have known had he bothered to make a proper inquiry
 15

 16   or meet with Jumaane.
 17                58. AFIBA was invited to negotiate. While that statement existed in the
 18
      Notice of Revocation, when Jumaane ceased the opportunity he was flatly denied
 19

 20   by City officials.
 21                59. The allegation that the City was concerned about AFIBA maintaining
 22
      insurance coverage was simply a false premise. When asked by the City to produce
 23

 24   proof of insurance, AFIBA promptly provided the City with a valid certificate of
 25
      insurance proving the City’s accusation to be false.
 26
                   60. The allegation regarding repairs is similarly misleading. AFIBA has
 27

 28   always maintained the building properly. The City sent its inspectors, who returned
                                                 - 17 -
      36159957v3
                                              COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 18 of 29 Page ID #:18



  1   a finding that the building was being maintained.
  2
                   61. The alleged community complaints were NEVER brought to the
  3

  4   attention of AFIBA nor were the purported complainants ever identified.

  5                62. The Facebook page was not a mainstay of AFIBA. It was not
  6
      required by the license or the City to establish or maintain. AFIBA determined that
  7

  8   other means were more effective to communicate with its members. Community

  9   groups, organizations, and individuals who showcase their programs at the AFIBA
 10
      Center are responsible for promoting their activities through their own websites,
 11

 12   email lists, and social media outlets. The City requested proof from AFIBA of its
 13   activities for the last 3 years in the form of hardcopy calendars, including a
 14
      breakdown of how many activities AFIBA hosted per month on average for the past
 15

 16   3 years. AFIBA immediately produced the last 3 years of calendars requested by
 17   the City and demonstrated that on average we hosted 22 events per month. This
 18
      refuted the inference by the City that the building was underutilized and not serving
 19

 20   the community. This completely contradicted the weight and veracity that was
 21   given to the Facebook page. The use of this evidence was clearly a superficial,
 22
      pretextual rationale to accomplish the goals of the Councilman to shut down
 23

 24   AFIBA and Jumaane for speaking out against him.
 25
                   63. AFIBA, Jumaane and community organizations continued to seek an
 26
      audience with the Councilman.
 27

 28                64. On September 25, 2019 the Councilman appeared as a guest of the
                                               - 18 -
      36159957v3
                                            COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 19 of 29 Page ID #:19



  1   Front Page radio show hosted by Dominique DiPrima to discuss the homelessness
  2
      challenge in the 8th district and the future of the AFIBA Center. During the show,
  3

  4   the Councilman made the following false allegations:

  5                  65. During the show the Councilman INTENTIONALLY
  6
      MISREPRESENTED to the public that:
  7
                     “…Mr. Jumaane: it's unfortunate. You know, he – he's been in City Hall;
  8                  he's been in several papers; he's been in the press saying, “Oh, I've got an
                     – I’ve got an eviction notice”. He’s never produced an eviction notice
  9                  because no eviction notice has ever been sent to him.”
 10
              This statement is completely false. AFIBA Center and Jumaane were served
 11
      with an eviction notice on August 9, 2019, an entire month and a half prior to the
 12
      date of his appearance on the Front-Page radio show.
 13
              66. The Councilman continued with his MISREPRESENTATIONS. He
 14
       stated “…What's been sent to him has been a letter from the City, …. to say - [long
 15
       pause - music in background]- If you’re going to continue this agreement, the - the
 16
       requirements have to be transparent and there has to be a reporting process.”
 17
                   67. This statement is completely false. No letter was ever sent to AFIBA or
 18
       Jumaane that states “If you’re going to continue this agreement, the - the
 19
       requirements have to be transparent and there has to be a reporting process.”
 20
                   68. The Councilman continued with the DECEIT by stating that AFIBA and
 21
       Jumaane refused to participate in any negotiations regarding the License:
 22

 23                  “… But if you won't come to the table, to... have that negotiation, you
                     leave the city with almost no choice. If they say we want to renegotiate a
 24
                     – uh – agreement with you that, by the way, his existing agreement is a
 25                  month to month agreement that could be terminated with two weeks’
                     notice. We're now a year and some change into the time that we've
 26
                     approached him, that the City's approached him about – about redoing
 27                  that agreement.”
 28
                                                    - 19 -
      36159957v3
                                                 COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 20 of 29 Page ID #:20



  1           This statement is completely and totally untrue. AFIBA and Jumaane
  2   beseeched the Councilman to meet with Jumaane, but he refused the request
  3   outright or ignored the request. AFIBA and Jumaane went to great lengths to
  4   request a meeting with the Councilman. They utilized intermediaries, telephone
  5   calls, letters, flyers and finally banners facing Crenshaw Blvd:
  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16    69. Another MISREPRESENTATION by the Councilman:
 17
                   “…what triggered this whole thing was inspectors went to inspect the
 18                electrical panel and they went through and do some other inspections of
 19
                   city property and they weren't allowed access into the building, which
                   triggered the City attorney…”
 20

 21
              This statement is simply false. Not only were the inspectors allowed into the

 22
      building, but they also approved the conditions during the inspection.

 23

 24           70. The Councilman engaged in deceit by not disclosing the full changes

 25    proposed for the AFIBA Center. He stated:

 26                “The AFIBA Center - the tower was never planned to replace the AFIBA
                   Center. The AFIBA Center was always meant to be a centerpiece of
 27                Destination Crenshaw. How are you going to have - … So if you see the
 28                actual drawings, … the tower does is it takes up three parking spaces in

                                                - 20 -
      36159957v3
                                             COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 21 of 29 Page ID #:21



  1                the parking lot of the AFIBA Center for which, even before proposing
  2                that, we had worked out a deal - which I think we can still do - worked out
                   a deal with US Bank, which you realize is just four five steps away ...- to
  3                use - for AFIBA Center to use those parking spaces. So, they get two
  4                parking spaces for every one that they lose. So that, that was already in
                   place.
  5                The - the other thing that - the other asked that we had of AFIBA Center
  6                is that there actually be a sign that says this is the AFIBA Center, so that
                   visually people knew that this is/was a center for and by African people to
  7                forward the cause of African people in this place. Those were the only
  8                two changes. And in fact, on the sign, we said, “If you don't want the
                   sign, fine, we won't do a sign.” That makes sense to me, why you would
  9                not want – not want to call attention to the organization and the fact that
 10                it's there on Crenshaw Boulevard. We need as many black organizations
                   on Crenshaw Boulevard front-facing as we can get.”
 11

 12                The Councilman intentionally failed to disclose that the tower was not the
 13    only proposed addition to AFIBA Center building and parking lot. The proposed
 14    changes as presented to Jumaane included utilizing the parking lot for a “pocket
 15    park” which would virtually leave little to no parking spaces at the AFIBA Center.
 16    The proposed changes also included removing fencing and walls leaving the
 17    AFIBA Center vulnerable to homeless intrusions and campsite set ups.
 18           71. The CITY pursued the eviction to its final conclusion terminating in a
 19     summary judgment based upon the same misrepresentation cited herein.
 20           72. In a meeting with community leaders, the Councilman stated that “the
 21     AFIBA Center will remain, but the leadership will change” referring to Jabari
 22     Jumaane being removed from the organization. The councilman does not have
 23     the authority to remove a member of an organization based upon his role as a Los
 24     Angeles City Councilman. Nevertheless, he made his objective clear with this
 25     statement and his intention to use the resources of his position and the CITY to
 26     silence AFIBA and its leader, Jabari Jumaane.
 27           73. The AFIBA Center is no longer available to the public at the direction
 28     and wishes of the Councilman.
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      36159957v3
                                              COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 22 of 29 Page ID #:22



  1            74. The AFIBA Center is padlocked by the CITY personnel. Hence, the
  2       Councilman’s punishment of AFIBA and Jumaane for exercising his right to free
  3       speech was complete on February 3, 2021.
  4            75. AFIBA and Jabari Jumaane were given 30 days to remove their
  5       belongings from the AFIBA Center or the CITY stated it will dispose of its
  6       contents.
  7

  8                                         FIRST CLAIM FOR RELIEF
  9                              Violation of First Amendment Right to Free Speech
                                       42 U.S.C. ⸹1983 Against All Defendants
 10

 11

 12                76. Plaintiffs re-allege and incorporate by reference all of the preceding
 13       paragraphs in this Complaint.
 14                77. Defendants deprived, and are continuing to deprive, Plaintiffs of the
 15       rights secured by the United States Constitution.
 16                78. At all material times, Jumaane was engaged in constitutionally protected
 17       activity, exercising his clearly established First Amendment right to speak out on
 18       matter of public concern; specifically, the Destination Crenshaw City Project to
 19       revamp the 1.3 mile stretch of Crenshaw Boulevard and its impact on the
 20       inhabitants of Crenshaw Blvd and Hyde Park area, which is matter of public
 21       concern.1
 22                79. Defendants sought to effect unlawful prior restraints on Jumaane’s
 23       lawful speech through a series of adverse actions, including disparaging Jumaane
 24       and AFIBA, revoking AFIBA’s license, which AFIBA had enjoyed for a nearly
 25       20-year period of occupation of Fire Station 54 located at 5730-32 Crenshaw
 26       Blvd., and ultimately evicted Jumaane and AFIBA and chained the doors to the
 27
      1
       Matters of public concern are those which can be “fairly considered as relating to any matter of political, social, or
 28   other concern to the community.” Connick v. Myers, 461 U.S. 138, 146.

                                                               - 22 -
      36159957v3
                                                           COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 23 of 29 Page ID #:23



  1    AFIBA Center--all to rid the community of Jumaane.
  2           80. Jumaane, motivated by his moral and social beliefs, has regularly
  3    engaged in pro African American speech aimed at protecting his community and
  4    constituents of the AFIBA Center from encroaching gentrification and preserving
  5    the present stakeholders in the area. His speech activities include hand-to-hand
  6    leafleting, holding press conferences and rallies, and appearing in the news media,
  7    on television, radio shows and other public fora.
  8                81. Defendants acted in concert to retaliate against Jumaane and AFIBA for
  9    speaking out in public to expose Councilman’s divided loyalty to the members of
 10    the community he was sworn to serve. Jumaane made demands that the
 11    Councilman address the three core issues regarding Destination Crenshaw as it
 12    related to the Crenshaw Blvd/Hyde Park inhabitants: 1) Define the economic
 13    benefit to the Crenshaw community; 2) Inclusion of the Hyde Park stakeholders in
 14    the decision-making process of Destination Crenshaw and 3) Discussion the
 15    adverse impact on the AFIBA Center on Destination Crenshaw. Jumaane
 16    criticized the Councilman of placing a priority on gentrification rather than
 17    focusing on the economic development of the African American constituents of
 18    Crenshaw Blvd./Hyde Park.
 19                82. Defendants’ actions are, in whole or in part, unlawfully motivated by
 20    their disagreement with the Plaintiffs’ viewpoint concerning the adverse impact of
 21    Destination Crenshaw on the AFIBA Center, Crenshaw Boulevard/ Hyde Park
 22    inhabitants; and therefore, their actions also constitute unlawful viewpoint
 23    discrimination.
 24                83. Defendants acted in concert to retaliate against Plaintiffs for exercising
 25    their right to free speech of matters of public concern. Defendants’ actions were
 26
       motivated to revoke the license and evict Plaintiffs because of Jumaane speaking
 27
       out against Defendants and NOT for the pretextual list of false claims of AFIBA
 28
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      36159957v3
                                                 COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 24 of 29 Page ID #:24



  1       failing to meet its obligations.
  2                84. Defendants retaliated against Jumaane and AFIBA by revoking the near
  3       20-year License granted to AFIBA by the CITY. The reasons the CITY provided
  4       for revoking the License were all completely or partially false and offered as
  5       pretext to hide the true motivating factor for the revocation. The revoking of
  6       AFIBA’s license was to neutralize Jumaane and silence his efforts to expose the
  7       alleged deficiencies in the Destination Crenshaw Project.
  8                85. Defendants meted out the ultimate punishment to Jumaane and AFIBA
  9       as retaliation against them for Jumaane’s exercising his right to free speech by
 10       evicting both AFIBA and Jumaane and chaining the AFIBA Center, preventing
 11       entry from the community.
 12                86. Defendants’ adverse actions injured Jumaane and AFIBA by restraining,
 13       preventing, and impairing his lawful speech in a way likely to chill a person of
 14       ordinary firmness from propounding further lawful speech. 2 In fact, as result of
 15       Defendants’ adverse actions, that chill continues to this day.
 16                87. The Councilman’s abuse of his governmental powers used to crush and
 17       eliminate the AFIBA Center and Jumaane after 20 years of public service for
 18       daring to speak out against his actions and speak up for the community has sent a
 19       chill through the community and frightened them into speaking up for fear that he
 20       will use the City’s power to punish them.
 21                88. As a direct and proximate result of Defendants’ unlawful activity,
 22       Plaintiff has suffered and continues to suffer economic and non-economic damages
 23       for which Plaintiffs are liable.
 24                89. Defendant Councilman Marqueece Harris-Dawson’s acts were willful,
 25       egregious, malicious and worth of substantial sanction to punish and deter
 26

 27
      2
        See Reno v. ACLU, 521 U.S. 844, 872 (1997) (“The severity of …sanctions may well cause speakers to remain
 28   silent rather than communicate even arguably unlawful words, ideas…”)

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      36159957v3
                                                       COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 25 of 29 Page ID #:25



  1    Defendants and others from engaging in this type of unlawful conduct.
  2

  3                                      SECOND CLAIM FOR RELIEF
  4                         Violation of Fourteenth Amendment Right to Due Process
                                     42 U.S.C. ⸹1983 Against All Defendants
  5

  6                90. Plaintiffs re-allege and incorporate by reference all of the preceding

  7    paragraphs in this Complaint.

  8                91. The Revocation Notice and Defendants’ enforcement thereof violate

  9    Plaintiffs’ due process rights secured by the Fourteenth Amendment to the U.S.

 10    Constitution. Under the Due Process Clause of the Fourteenth Amendment, no

 11    State shall “deprive any person of life, liberty, or property, without due process of

 12    law.”
 13                92. Defendants’ enforcement of the License agreement under the
 14    circumstances, as described herein, violates due process by eliminating any
 15    opportunity for individuals to adjust or correct perceived or actual errors or
 16    conduct that falls below the standard.
 17                93. But for Defendants’ arbitrary and unpredictable actions, Plaintiffs could
 18    have maintained the License without fearing they may be forced out for exercising
 19    their right to free speech.
 20                94. Forcing Plaintiffs out of the AFIBA Center and depriving them of their
 21    ability to serve the community due to Defendants retaliating against them for
 22    exercising free speech is unconstitutionally arbitrary and does not serve any
 23    legitimate state interest.
 24            95. Defendants’ Revocation of the License expressly deprived Plaintiffs of
 25     their rights and liberties in lawful association by revoking the License on false
 26     pretenses. Defendants did not afford Plaintiffs with a constitutionally adequate
 27     hearing to present their case that the License should not have been revoked, which
 28     in essence resulted in the AFIBA Center’s complete shutdown. At a minimum,
                                                    - 25 -
      36159957v3
                                                 COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 26 of 29 Page ID #:26



  1     Plaintiffs should have been able to have an opportunity to address, correct, or
  2     resolve any deficiencies in performance under the License perceived by the CITY
  3     before the revocation of the License.
  4           96. Defendants failed to comply with the procedural requirements of the U.S.
  5     Constitution in connection with Plaintiffs’ rights and liberties as they relate to
  6     their respective properties / associations. Had Defendants done so, this would
  7     have given Plaintiffs a meaningful opportunity to respond to the purported
  8     deficiencies and explain how and why their claims of underutilization, disrepair,
  9     restricted access and absence of the Farmer’s Market were inaccurate and that
 10     revocation was not warranted and unconstitutional as applied to Plaintiffs.
 11           97. Because Defendants’ decisions in issuing their revocation were made in
 12     reliance on procedurally deficient and substantively unlawful processes, Plaintiffs
 13     were directly and proximately deprived of their property, and consequently, their
 14     ability to lawfully continue in the occupation of Fire Station 54 and operate their
 15     businesses without unconstitutional government overreach and abuse of power.
 16           98. Plaintiffs found it necessary to engage the services of private counsel to
 17   vindicate their rights under the law. Plaintiffs are therefore entitled to an award of
 18   attorneys’ fees pursuant to 42 U.S.C. § 1988.
 19

 20                              THIRD CLAIM FOR RELIEF
 21                            Conspiracy to Violate Civil Rights,
                             42 USC ⸹1985(3) against all Defendants
 22

 23
              99. Plaintiffs re-allege and incorporates by reference all of the preceding
 24
       paragraphs in this Complaint.
 25
              100. Defendants and John Doe came to mutual agreement and understanding
 26
        to silence Jumaane and AFIBA and punish them for engaging in free speech that
 27
        was negative to the Councilman and served as an opposition to his vision for
 28
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      36159957v3
                                             COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 27 of 29 Page ID #:27



  1     Destination Crenshaw.
  2           101. In furtherance of the conspiracy John Doe and Defendants undertook
  3   acts that would not have been undertaken without the agreement. Those included
  4   making false allegations against Jumaane and the AFIBA Center, making false
  5   claims of Jumaane’s failure to meet the obligations of the License, revoking the
  6   License as a means to restrict Jumaane’s free speech.
  7           102. Jumaane and AFIBA’s rights were violated as a result of the conspiracy,
  8    causing irreparable harm.
  9           103. As a direct and proximate cause of Defendants’ unlawful activity,
 10     Plaintiffs have suffered and continue to suffer economic and non-economic
 11     damages for which Defendants are liable in an amount to be proven at trial,
 12     including attorney fees and costs under 42 U.S. C. ⸹1988.
 13

 14
                               FOURTH CLAIM FOR RELIEF
 15                      Violation of California Constitution, Art. 1, ⸹2
                                     Against All Defendants
 16

 17
              104. Plaintiffs re-allege and incorporates by reference all of the preceding
 18
      paragraphs in this Complaint.
 19
              105. Defendants’ License as applied violates Article 1, Section 2 of the
 20
      California Constitution.
 21

 22                              FIFTH CLAIM FOR RELIEF
 23
                         Violation of California Constitution, Art. 1, ⸹7
                                     Against All Defendants
 24

 25
              106. Plaintiffs re-allege and incorporates by reference all of the preceding

 26
      paragraphs in this Complaint.

 27           107. Defendants’ License on its face and as applied violates Article 1,

 28   Section 7 of the California Constitution.

                                                - 27 -
      36159957v3
                                             COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 28 of 29 Page ID #:28



  1

  2                                    PRAYER FOR RELIEF
  3           WHEREFORE, Plaintiffs respectfully requests the following relief:
  4           (a)      Judgment against Defendants.
  5           (b)      An order declaring that the Defendants violated the Plaintiffs’ rights
  6    protected under the First and Fourteenth Amendments to the United States
  7    Constitution and Article 1 sections 2 and 7 of the State of California Constitution.
  8           (c)      An order that Defendants engaged in an unlawful viewpoint
  9    discrimination in violation of the First Amendment and Fourteenth Amendments
 10    of the United States Constitution and the State of California Constitution.
 11           (d)      An entry of judgment for Plaintiffs of no less than $1 against
 12    Defendants in their individual capacities.
 13           (e)      An award to Plaintiff of reasonable attorneys’ fees and costs incurred
 14    in connection with this action from Defendants.
 15           (f)      To retain jurisdiction of this matter to enforce the terms of the Court’s
 16                 orders; and
 17           (g)      An order granting such further and different relief as this Court may
 18     deed just and proper of that is necessary to make the Plaintiffs whole.
 19

 20
      Dated: April ___, 2021
 21
                                                      MOBLEY LAW OFFICE, PC
 22

 23
                                                      By:
 24                                                     Felicia A. Mobley
                                                        Attorneys for Plaintiffs
 25

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      36159957v3
                                                COMPLAINT
Case 2:21-cv-03507-PA-PD Document 1 Filed 04/23/21 Page 29 of 29 Page ID #:29



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      36159957v3
                                       COMPLAINT
